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 6                     IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   John Feins,                                    No. CV-22-00932-PHX-JJT
10                 Plaintiff,                       ORDER
11   v.
12   Goldwater Bank NA,
13                 Defendant.
14
15         At issue is Plaintiff’s Consent Motion for Extension of Time to Respond to
16   Defendant Goldwater Bank, N.A.,’s Motion to Dismiss Plaintiff’s Amended Complaint
17   (Doc. 18). Upon review and good cause appearing,
18         IT IS HEREBY ORDERED granting Plaintiff’s Consent Motion for Extension of
19   Time to Respond to Defendant Goldwater Bank, N.A.,’s Motion to Dismiss Plaintiff’s
20   Amended Complaint (Doc. 18).
21         IT IS FURTHER ORDERED extending the deadline for Plaintiff to file a response
22   to Defendant’s Motion to Dismiss Amended Complaint (Doc. 16) to August 19, 2022.
23         Dated this 3rd day of August, 2022.
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25                                       Honorable John J. Tuchi
                                         United States District Judge
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